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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

RICHARD D. WILLIAMSON                                 CIVIL ACTION

VERSUS                                                NUMBER:

OCSHNER MEDICAL CENTER–                               SECTION:
NORTHSHORE, L.L.C., and OCHSNER
CLINIC FOUNDATION                                     DIVISION:



                               COMPLAINT FOR DAMAGES

TO THE HONORABLE UNITED STATES DISTRICT COURT FOR THE EASTERN
DISTRICT OF LOUISIANA AND THE JUDGES THEREOF:

                                       INTRODUCTION

       This medical malpractice claim for damages, brought pursuant to La. R.S. 40:1231.1, et

seq., arises out of the negligent conduct of the employees and/or agents of Ochsner Medical

Center–Northshore, L.L.C. and Ochsner Clinic Foundation, which caused Plaintiff, Richard D.

Williamson, to suffer bodily injury and harm, including, but not limited to, permanent neurological

damage.

                                            PARTIES

   1. Plaintiff, Richard D. Williamson, is a person of full age of majority and resident of and

       domiciled in Tylertown, Mississippi.

   2. Defendant,     Ochsner     Medical    Center–Northshore,     L.L.C.   (hereafter   “Ochsner

       Northshore”), is a limited liability company organized under the laws of the State of

       Louisiana, and, at all times pertinent hereto, it was authorized to do and doing business

       within the jurisdiction of this Honorable Court.




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3. Defendant, Ochsner Clinic Foundation (hereafter “the Clinic”), is a non-profit corporation

   organized under the laws of the State of Louisiana, and, at all times pertinent hereto, it was

   authorized to do and doing business within the jurisdiction of this Honorable Court.

4. Defendant, Carl E. Lowder, Jr., M.D. (hereafter “Dr. Lowder”), is a person of full age of

   majority, and upon information and belief, is a resident of and domiciled in Louisiana.

                                JURISDICTION AND VENUE

5. Jurisdiction of this matter is based upon diversity of citizenship pursuant to 28 U.S.C. §

   1332(a)(1), with the amount in controversy, exclusive of interest and costs, exceeding

   $75,000.

6. Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(a)(2) and (c), as the events

   which give rise to this claim occurred in this district and, at all times pertinent hereto,

   Defendants conducted regular business in the Eastern District of Louisiana.

7. A Request for Panel Review was properly filed with the Division of Administration on or

   about May 13, 2016. The proceedings before the Medical Review Panel have been

   completed.

                         FACTS AND GENERAL ALLEGATIONS

8. On June 17, 2015, Mr. Williamson was admitted to Ochsner Northshore for scheduled

   bilateral decompressive C2, C3, C4, and C5 laminectomies, medial facetectomies, and

   foraminotomies with intraoperative neurological monitoring to be performed by Dr.

   Lowder.

9. Prior to the June 17, 2015 surgery, Mr. Williamson was myelopathic, but he nonetheless

   was ambulatory, swam daily, and drove a motor vehicle.




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10. During the first two days postoperative (June 18th and 19th), Mr. Williamson appeared

   stable, and was able to ambulate approximately eighty to 100 feet with minimal assistance

   using a walking roller.

11. Mr. Williamson was scheduled to be discharged on June 20, 2015, three days postoperative.

   However, on the morning of June 20, Mr. Williamson was manifesting clear and significant

   neurological deterioration due to spinal cord compression from a hematoma. Consequently,

   Mr. Williamson was unable to sit, stand, or ambulate without assistance, and he remained

   at Ochsner Northshore.

12. When Dr. Lowder was notified of Mr. Williamson’s deteriorating condition on the morning

   of June 20, rather than coming into the hospital to assess his patient, Dr. Lowder

   implemented orders to have Mr. Williamson transferred to another facility.

13. However, the hospital doctors and staff determined he was unable to be transferred at that

   time, and he remained at Ochsner Northshore for the next several days, until his discharge

   on July 1.

14. The first time Dr. Lowder visited Mr. Williamson after learning of his paralysis was on the

   afternoon of June 21, four days postoperative. Dr. Lowder stated in the progress note of

   that date that Mr. Williamson was unable to care for himself, and that his legs had

   weakened over the last thirty-six hours.

15. On the evening of June 22, five days postoperative, Dr. Lowder finally ordered a MRI of

   the cervical spine.

16. On the morning of June 23, six days postoperative, Mr. Williamson underwent the MRI of

   the cervical spine that Dr. Lowder ordered the night before, which, according to the

   radiology report authored by Dr. David Donaldson, revealed, inter alia, a large



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   hematoma/postsurgical changes in the posterior soft tissues which were protruding upon

   the spinal canal and producing significant spinal cord compression behind C5 at C5–6

   where disk protrusion remained. The MRI further reflected epidural hemorrhage behind

   C6 and cord compression at that level and a high-density material consistent with edema

   and some hematoma that impinged upon the spinal canal and produced cord compression

   at T5 and C5–6 and a small amount of epidural hemorrhage posteriorly at C6.

17. On the afternoon of June 23, Dr. Lowder performed a posterior cervical laminectomy

   incision, exploration and evacuation of subfascial hematoma/seroma. Dr. Lowder’s

   Operative Report reflected, inter alia, that a seroma was evacuated.

18. On July 1, 2015, Mr. Williamson was transferred to Ochsner Inpatient Rehab Unit. At the

   time of his transfer, Dr. Lowder charted that Mr. Williamson had a “C7/T1 spinal level

   quadriparesis secondary to postop clot at surgical bed…”

19. After a brief stay at the Inpatient Rehab Unit, Mr. Williamson’s family arranged for him to

   be transferred via air ambulance to Baylor Institute for Rehabilitation in Dallas, Texas,

   where he remained until August 28th, 2015. Following his discharge, Mr. Williamson

   returned home, where he required round-the-clock care by a team of caregivers.

20. Defendants, Ochsner Medical Center-Northshore, L.L.C., Ochsner Clinic Foundation, and

   Dr. Lowder departed from applicable standards of care owed to Mr. Williamson by failing

   to timely diagnose and treat the spinal cord compression caused by a postoperative

   hematoma or seroma.

21. Additionally and/or alternatively, the Defendants ignored, avoided, and simply failed to

   adhere to and apply accepted professional and medical standards in timely diagnosing and




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   treating Mr. Williamson’s spinal cord compression caused by the postoperative hematoma

   and/or seroma.

22. As a result of this failure to timely diagnose and/or treat Mr. Williamson, he now suffers

   from permanent and irreversible paraplegia, for which he will require round the clock care

   for the remainder of his lifetime.

23. The aforementioned negligent actions by Dr. Lowder occurred while he was in the course

   and scope of his employment with Defendants, Ochsner Medical Center-Northshore,

   L.L.C. and/or Ochsner Clinic Foundation, therefore, Ochsner Medical Center-Northshore,

   L.L.C. and/or Ochsner Clinic Foundation are responsible for the negligent acts of their

   agent, servant, and/or employee physician and staff members, pursuant to doctrine of

   respondeat superior.

24. The foregoing negligence, breaches of the standard of care, and acts and/or omissions of

   Ochsner Medical Center-Northshore, L.L.C. and/or Ochsner Clinic Foundation,

   individually and/or through the persons for whom they are responsible, directly and/or

   proximately resulted in Mr. Williamson’s injuries, or, alternatively, resulted in the loss of

   chance of a better medical outcome.

25. As a direct and proximate result of the above-described negligence, breaches of the

   standard of care, and acts and/or omissions of the Defendants, individually and/or through

   the persons for whom they were and are responsible, Mr. Williamson was caused to suffer,

   and will suffer, severe mental anguish, physical pain and suffering, the loss of enjoyment

   of life, potential loss or diminution of earning capacity, additional medical treatment and

   expenses, and other supportive care for which he is entitled to recover damages from

   Defendants.



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                                       PRAYER FOR RELIEF

       Wherefore, Plaintiff, Richard D. Williamson, prays that all Defendants be served with a

copy of this Complaint, and that, after due proceedings:

   1. There be a judgment herein in favor of Mr. Williamson against all Defendants for all

       damages as are reasonable in the premises, together with legal interest thereon from May

       13, 2016 (the date of the filing of the Request for Panel Review), until paid, and for all

       costs and expenses of these proceedings, and thereafter;

   2. There be specially included in the judgment in Mr. Williamson’s favor, provisions for the

       following damages and relief as found applicable and supported by the evidence:

       a. past and future mental and physical pain and suffering by Mr. Williamson;

       b. past and future loss of enjoyment and quality of life of Mr. Williamson;

       c. past and future compensable medical and other out-of-pocket expenses related to

           Defendants’ wrongdoing;

       d. costs of court; and,

   3. All other general, equitable, and further relief as the Court may deem just and proper.

                                     GAINSBURGH, BENJAMIN, DAVID,
                                     MEUNIER & WARSHAUER, L.L.C.

                                     BY:     /s/Robert J. David
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                                     and

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PLEASE SERVE:

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Through their agent for service of process,
CT Corporation System
3867 Plaza Tower Drive
Baton Rouge, LA 70816

OCHSNER CLINIC FOUNDATION
Through their agent for service of process,
CT Corporation System
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DR. CARL E. LOWDER, JR.
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